                                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                   CIVIL ACTION NO. 3:20-CV-00023-MOC-DSC


                DEBRA BRUCKART,                                )
                                                               )
                                  Plaintiff,                   )
                                                               )
                v.                                             )
                                                               )                   ORDER
                EXPERIAN INFORMATION                           )
                SOLUTIONS INC. et. al.,                        )
                                                               )
                                Defendants.                    )



                       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

               Affidavit [for Christine O’Tousa]” (document #30) filed October 15, 2020. For the reasons set

               forth therein, the Motion will be granted.


                       The Clerk is directed to send copies of this Order to counsel for the parties and to the

               Honorable Max O. Cogburn, Jr.


                       SO ORDERED.


Signed: October 18, 2020




                      Case 3:20-cv-00023-MOC-DSC Document 31 Filed 10/18/20 Page 1 of 1
